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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

FEDERAL TRADE COMMISSION
600 Pennsylvania Avenue, N.W.
Washington, DC 20580

Plaintiff,

RAG-STIFTUNG
Im Welterbe 10
Essen, Germany 4514]

EVONIK INDUSTRIES AG
Rellingshauser Strabe 1-11
Essen, Germany 45128

EVONIK CORPORATION
299 Jefferson Road
Parsippany, NJ 07054

EVONIK INTERNATIONAL HOLDING
B.V.

Hettenheuvelweg 37/37

1101BM Amsterdam, Netherlands

ONE EQUITY PARTNERS SECONDARY
FUND, L.P. and

ONE EQUITY PARTNERS V, L.P.

510 Madison Ave, 19th Floor

New York, NY 10022

LEXINGTON CAPITAL PARTNERS VII
(AIV 1), L.P.

660 Madison Avenue, 23rd Floor

New York, NY 10065

 

Case: 1:19-cv-02337

Assigned To : Kelly, Timothy J.

Assign. Date : 8/2/2019

Description: TRO/Prelim. Injunct. (D-DECK)

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AUG 02 2019

Clerk, U.S. District and
Bankruptcy Courts
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PEROXYCHEM HOLDING COMPANY
LLC

PEROXYCHEM HOLDINGS, L.P.
PEROXYCHEM HOLDINGS LLC and
PEROXYCHEM LLC

2005 Market Street #3200

Philadelphia, PA 19103

And
PEROXYCHEM COOPERATIEF U.A.
Herengracht 466
1017 CA Amsterdam, Netherlands

Defendants.

 

 

COMPLAINT FOR TEMPORARY RESTRAINING ORDER
AND PRELIMINARY INJUNCTION PURSUANT TO
SECTION 13(b) OF THE FEDERAL TRADE COMMISSION ACT

Plaintiff, the Federal Trade Commission (*FTC” or “Commission”), by its designated
attorneys, petitions this Court to enter a stipulated temporary restraining order and grant a
preliminary injunction enjoining Defendants RAG-Stiftung, Evonik Industries AG, Evonik
Corporation, and Evonik International Holding B.V., (collectively, “Evonik”), One Equity
Partners Secondary Fund, L.P. and One Equity Partners V, L.P., (collectively, “One Equity
Partners”), Lexington Capital Partners VII (AIV J), L.P., and PeroxyChem Holding Company
LLC, PeroxyChem Holdings, L.P., PeroxyChem Holdings LLC, PeroxyChem LLC, and
PeroxyChem Cooperatief U.A., (collectively, “PeroxyChem”), including their agents, divisions,
parents, subsidiaries, affiliates, partnerships, or joint ventures, from consummating their
proposed acquisition (the “Acquisition”). Plaintiff seeks this provisional relief pursuant to
Section 13(b) of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 53(b). Absent
such provisional relief, Evonik and PeroxyChem (collectively, “Defendants”) would be free to

consummate the Acquisition after 11:59 p.m. EDT on August 7, 2019.

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Plaintiff requires the aid of this Court to maintain the status quo and prevent interim harm
to competition during the pendency of an administrative proceeding on the merits. The
Commission has already initiated that administrative proceeding pursuant to Sections 7 and 11 of
the Clayton Act, 15 U.S.C. §§ 18, 21, and Section 5 of the FTC Act, 15 U.S.C. § 45, by filing an
administrative complaint on August 2, 2019. Pursuant to FTC regulations, the administrative
hearing on the merits will begin five months from the date of that filing (i.¢e., on January 2,
2020). That administrative hearing will determine the legality of the Acquisition and will provide
all parties a full opportunity to conduct discovery and present testimony and other evidence
regarding the likely competitive effects of the Acquisition.

NATURE OF THE CASE

1. This is an action to temporarily restrain and preliminarily enjoin the
consummation of an anticompetitive Acquisition of PeroxyChem by Evonik, two of only five
hydrogen peroxide producers in North America. Hydrogen peroxide is a commodity chemical
used for oxidation, sterilization, and bleaching, and for most end uses, there are no effective
substitutes. Hydrogen peroxide producers sell to customers in various industries, including pulp
and paper, food packaging, agriculture, chemical synthesis, mining and gas, and personal care.
The pulp and paper industry uses most of the hydrogen peroxide produced in North America,
primarily for bleaching pulp and deinking recycled paper. This case does not concern
electronics-grade hydrogen peroxide, which requires additional manufacturing steps and is not a
substitute for other forms of hydrogen peroxide.

2. Defendants compete vigorously for customers, especially in regional markets in
the Pacific Northwest and the Southern and Central United States. In the Pacific Northwest, the

Acquisition would combine two of only three significant hydrogen peroxide producers in the
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region. In the Southern and Central United States, the Acquisition would combine the two largest
hydrogen peroxide producers by nameplate production capacity, and two of the three largest
hydrogen peroxide suppliers by sales. The Acquisition would create a firm with a dominant share
and significantly increase market concentration in each regional market.

3. Post-Acquisition, Evonik would control more than half of the market, based on
capacity and sales, for the production and sale of hydrogen peroxide in the Pacific Northwest,
where Solvay would be the only other hydrogen peroxide producer with a meaningful presence.
In the Southern and Central United States, post-Acquisition, Evonik would control nearly half of
the market, based on capacity and sales, for the production and sale of hydrogen peroxide, with
only Solvay, Arkema, and Nouryon remaining.

4. Under the 2010 U.S. Department of Justice and Federal Trade Commission
Horizontal Merger Guidelines (“Merger Guidelines”), a post-acquisition market-concentration
level above 2,500 points, as measured by the Herfindahl-Hirschman Index (“HHI”), and an
increase in market concentration of more than 200 points renders an acquisition presumptively
unlawful. Based on both capacity and sales, in both the Pacific Northwest and the Southern and
Central United States, the Acquisition would significantly increase concentration in already
concentrated markets, well beyond the thresholds set forth in the Merger Guidelines. Thus, under
the Merger Guidelines, the Acquisition is presumptively unlawful in both the Pacific Northwest
and the Southern and Central United States.

5. The Acquisition would substantially lessen competition for the production and
sale of hydrogen peroxide in at least two ways. First, the Acquisition will increase the likelihood
of coordination in a market already vulnerable to coordination, functioning as an oligopoly, and

with a long history of price-fixing, including guilty pleas, litigation, and substantial fines and
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settlements. The hydrogen peroxide industry is already characterized by significant market
transparency, strong interdependence among a few major competitors, low demand elasticity,
and high entry barriers. Several hydrogen peroxide suppliers previously admitted to illegally
fixing prices at a time when there were six major suppliers in North America. After the
Acquisition, there will be only two suppliers remaining in the Pacific Northwest and four
suppliers remaining in the Southern and Central United States. In each of the two relevant
geographic markets, the Acquisition removes one of only a few competitors, thereby
strengthening and reinforcing the existing oligopolistic market dynamics and making
coordination amongst the few remaining suppliers easier. The Acquisition will thus increase the
likelihood of coordinated effects in both the Pacific Northwest and the Southern and Central
United States.

6. Second, the Acquisition would eliminate significant head-to-head competition
between Evonik and PeroxyChem in the Pacific Northwest and the Southern and Central United
States. In both regional markets, customers benefit from head-to-head competition amongst a
small handful of hydrogen peroxide suppliers, including the merging parties. The Acquisition
would substantially reduce that competition. Direct competition between Evonik and
PeroxyChem has repeatedly resulted in lower prices for customers. If consummated, the
Acquisition threatens significant harm to hydrogen peroxide customers in both the Pacific
Northwest and the Southern and Central United States by eliminating direct competition.

7. New entry or expansion by existing hydrogen peroxide producers would not be
timely, likely, or sufficient to counteract the anticompetitive effects of the Acquisition. There are
significant barriers to entry for potential producers of hydrogen peroxide. These include the need

for substantial capital investment and the likelihood that it would take multiple years to build a
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new hydrogen peroxide production plant. These barriers make entry or expansion difficult, and
incapable of constraining the merged entity. Expansion or repositioning by the remaining firms
sufficient to offset the Acquisition’s anticompetitive effects is also unlikely. Nor are increases in
hydrogen peroxide imports or repositioning by other chemical producers likely to offset the
anticompetitive effects of the Acquisition.

8. No cognizable, merger-specific efficiencies would offset the likely and substantial
competitive harm resulting from the Acquisition.

9. On August 2, 2019, by a 4-0 vote, the Commission found reason to believe that
the Acquisition would substantially lessen competition in violation of Section 7 of the Clayton
Act, 15 U.S.C. § 18, and Section 5 of the FTC Act, 15 U.S.C. § 45. On the same day, the
Commission commenced an administrative proceeding on the antitrust merits of the Acquisition
before an Administrative Law Judge, with the merits trial scheduled to begin on January 2, 2020.
The ongoing administrative proceeding provides a forum for all parties to conduct discovery,
followed by a merits trial with up to 210 hours of live testimony. See 16 C.F.R. § 3.41 (2014).
The decision of the Administrative Law Judge is subject to appeal to the full Commission,
which, in turn, is subject to judicial review by a United States Court of Appeals.

10. The parties have stipulated to the Court’s entry of a temporary restraining order
preventing the parties from consummating the acquisition until the fifth business day after the
court rules on the Commission’s motion for a preliminary injunction or until after the date set by
the District Court, whichever is later. Such a temporary restraining order is necessary to preserve
the status quo and protect competition while the Court considers the Commission’s application

for a preliminary injunction.
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11. Preliminary injunctive relief is similarly necessary to preserve the status quo and
to protect competition during the Commission’s ongoing administrative proceeding. Allowing
the Acquisition to proceed while the Commission is assessing whether the Acquisition’s
potential anticompetitive effects would harm consumers would undermine the Commission’s
ability to remedy the anticompetitive effects of the Acquisition if it is found unlawful after a full
trial on the merits and any subsequent appeals.

JURISDICTION AND VENUE

12. This Court’s jurisdiction arises under Section 13(b) of the FTC Act, 15 U.S.C. §
53(b), and under 28 U.S.C. §§ 1331, 1337, and 1345. This is a civil action arising under the Acts
of Congress protecting trade and commerce against restraints and monopolies, and is brought by
an agency of the United States authorized by an Act of Congress to bring this action.

13. Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), provides in pertinent part;

Whenever the Commission has reason to believe —

(1) that any person, partnership, or corporation is violating, or is about to violate, any
provision of law enforced by the Federal Trade Commission, and

(2) that the enjoining thereof pending the issuance of a complaint by the Commission
and until such complaint is dismissed by the Commission or set aside by the court
on review, or until the order of the Commission made thereon has become final,
would be in the interest of the public — the Commission by any of its attorneys
designated by it for such purpose may bring suit in a district of the United States
to enjoin any such act or practice. Upon a proper showing that weighing the
equites and considering the Commission’s likelihood of ultimate success, such
action would be in the public interest, and after notice to the defendant, a
temporary restraining order or a preliminary injunction may be granted without
bond...

14. _ Defendants are, and at all relevant times have been, engaged in activities in or

affecting “commerce” as defined in Section 4 of the FTC Act, 15 U.S.C. § 44, and Section | of

the Clayton Act, 15 U.S.C. § 12.
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15. | Defendant PeroxyChem has expressly consented to personal jurisdiction in the
District of Columbia. In addition, personal jurisdiction exists where service is effected pursuant
to a federal statute. Fed. R. Civ. P. 4(k)(1)(C). The FTC Act, 15 U.S.C. § 53(b), authorizes
nationwide service of process. Defendants are therefore subject to personal jurisdiction in the
District of Columbia. Venue is proper in the District of Columbia under 28 U.S.C. § 1391(b) and
(c), as well as under 15 U.S.C. § 53(b).

THE PARTIES AND THE PROPOSED ACQUISITION

16. Plaintiff, the Commission, is an administrative agency of the United States
government, established, organized, and existing pursuant to the FTC Act, 15 U.S.C. §§ 41 ef
seq., with its principal offices at 600 Pennsylvania Avenue, N.W., Washington, D.C. 20580. The
Commission is vested with authority and responsibility for enforcing, inter alia, Section 7 of the
Clayton Act, 15 U.S.C. § 18, and Section 5 of the FTC Act, 15 U.S.C. § 45.

17. Defendant RAG-Stiftung owns Defendant Evonik Industries AG, a large
chemicals manufacturer, headquartered in Essen, North Rhine-Westphalia, Germany. Defendant
Evonik Corporation is a wholly owned subsidiary of Evonik Industries AG, and is based in New
Jersey. Defendant Evonik International Holding B.V. is a wholly owned subsidiary of Evonik
Industries AG, and is based in the Netherlands. In 2006, RAG-Stiftung acquired Degussa, a long-
time hydrogen peroxide producer, and ultimately renamed the company Evonik. Evonik had
worldwide revenue of €14.4 billion in 2017. Evonik has three North American hydrogen
peroxide production plants located in Mobile, Alabama; Gibbons, Alberta; and Maitland,
Ontario.

18. Defendant One Equity Partners Secondary Fund, L.P. holds all of the limited

partnership interests of Defendant One Equity Partners V, L.P. Defendant Lexington Capital
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Partners VIII (AIV I), L.P. indirectly holds a majority of the limited partnership interests in One
Equity Partners Secondary Fund, L.P. One Equity Partners is the private investment arm of J.P.
Morgan Chase & Co., which owns Defendant PeroxyChem Holding Company LLC, a leading
global manufacturer of several chemicals, including hydrogen peroxide based in Philadelphia,
Pennsylvania. PeroxyChem Holding Company LLC owns Defendant PeroxyChem Holdings
LLC, Defendant PeroxyChem Holdings, L.P., Defendant PeroxyChem LLC, and Defendant
PeroxyChem Cooperatief. One Equity Partners acquired FMC Global Peroxygens, a long-time
hydrogen peroxide producer, in 2014, renaming the business PeroxyChem. PeroxyChem has two
hydrogen peroxide production plants in North America, in Bayport, Texas and Prince George,
British Columbia. PeroxyChem also recently opened a plant in Saratoga Springs, New York.
That plant purifies hydrogen peroxide produced at PeroxyChem’s Bayport facility to create
electronics-grade hydrogen peroxide.

19. Pursuant to an Agreement and Plan of Merger dated November 7, 2018, Evonik
proposes to acquire 100% of the voting securities of PeroxyChem for approximately $625
million in cash.

20. Pursuant to the Hart-Scott-Rodino Antitrust Improvements Act, 15 U.S.C. § 18a,
and a timing agreement between Defendants and Commission staff, unless temporarily restrained
and preliminarily enjoined by this Court, Defendants would be free to consummate the
Acquisition after 11:59 p.m. on August 7, 2019.

21. —_‘In authorizing the filing of this complaint, the Commission has determined that
(1) it has reason to believe the Acquisition would violate the Clayton Act and the FTC Act by
substantially lessening competition in one or more lines of commerce, and (2) an injunction of

the Acquisition pending the resolution of the Commission’s administrative proceedings and any
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appeals will promote the public interest, so as to minimize the potential harm to customers and
preserve the Commission’s ability to grant an adequate remedy if it concludes, after the
administrative proceeding, that the Acquisition is unlawful.

RELEVANT MARKETS

22. +‘ The production and sale of hydrogen peroxide to customers in (1) the Pacific
Northwest and (2) the Southern and Central United States constitute relevant antitrust markets.

A. Relevant Product Market

23. The relevant product market in which to assess the effects of the Acquisition is
hydrogen peroxide. Hydrogen peroxide is an oxidizing agent with diverse uses such as bleaching
pulp, chemical synthesis, and sterilizing food packaging. The primary use of hydrogen peroxide
produced in North America is for bleaching in the pulp and paper industry.

24. The relevant product market at issue in this case does not include electronics-
grade hydrogen peroxide. Electronics-grade hydrogen peroxide is used by semiconductor
manufacturers as a cleaning and etching agent to remove contaminants from semiconductor
wafers that go into cell phones, computers, and other advanced electronic devices. Electronics-
grade hydrogen peroxide requires additional purification capabilities that vary by hydrogen
peroxide producer, and not all hydrogen peroxide producers are capable of producing
electronics-grade hydrogen peroxide. Hydrogen peroxide is not a substitute for electronics-grade
hydrogen peroxide.

25. | Hydrogen peroxide is a commodity chemical. The primary raw materials in
manufacturing hydrogen peroxide are natural gas and hydrogen. The hydrogen peroxide

production process in North America is comprised of three steps: 1) hydrogenation, 2) oxidation,

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and 3) extraction. This process results in crude hydrogen peroxide, which is then diluted, filtered,
and stabilized depending on customer end-use.

26. There are no reasonably interchangeable substitutes for hydrogen peroxide, and
customers could not realistically switch to other chemicals in the face of a small but significant
non-transitory increase in price. For pulp and paper customers, who purchase the majority of
hydrogen peroxide in North America, mills are set up to use specific chemicals in the bleaching
process. These customers could not switch to a different bleaching chemical without purchasing
new equipment and re-formulating the bleaching process, which would be costly and could take
several years to implement. Similarly, there are no effective substitutes for hydrogen peroxide
for other end-use applications.

B. Relevant Geographic Markets

27. Defendants compete in regional markets for the production and sale of hydrogen
peroxide to customers. Accordingly, it is appropriate to analyze the competitive effects of the
Acquisition in certain regional markets in which Defendants compete. There is also likely to be
harm to customers that are outside of these geographic markets.

28. The relevant regional geographic markets in which to assess the Acquisition’s
effects are: (1) the Pacific Northwest and (2) the Southern and Central United States.

29. Hydrogen peroxide is delivered to customers predominantly by rail or truck.
There are high transportation costs associated with delivering hydrogen peroxide, particularly
relative to the value of the product itself. As a result, hydrogen peroxide producers deliver from
plants that are relatively nearer to customers because — when all else is equal — it is more cost-
effective to deliver at shorter distances. While hydrogen peroxide producers use terminals to

deliver further distances, this usage increases the cost of delivery.

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30. Defendants, like the other major North American hydrogen peroxide producers,
analyze the industry by geographic regions, routinely treating the Pacific Northwest and the
Southern and Central United States as separate regions.

31. | Evonik and PeroxyChem individually negotiate prices with customers and price
differently based on customers’ locations. When hydrogen peroxide producers negotiate with a
multiregional customer, the customer’s prices typically vary by region.

32. Customers within one of the relevant regional geographic markets are unlikely to
purchase hydrogen peroxide outside of that market and transport it themselves, given the cost of
delivery and the importance of proximity. Further, customers could not defeat a price increase by
purchasing indirectly from or through other customers (i.e., arbitrage).

33. Competitive conditions for the production and sale of hydrogen peroxide differ by
region. Evonik and PeroxyChem each compete to serve customers in the Pacific Northwest and
the Southern and Central United States, where clusters of hydrogen peroxide customers are
located. Additionally, Evonik and PeroxyChem each have plants in the Pacific Northwest and the
Southern and Central United States.

34. The Pacific Northwest consists of approximately Washington, Oregon, Montana,
Idaho, and Wyoming in the United States, along with British Columbia, Alberta, Manitoba, and
Saskatchewan in Canada.

35. The Southern and Central United States consists of approximately Alabama,
Arkansas, Arizona, California, Colorado, the District of Columbia, Delaware, Florida, Georgia,
Illinois, Indiana, lowa, Kansas, Kentucky, Louisiana, Maryland, Michigan, Minnesota, Missouri,
Mississippi, North Carolina, North Dakota, Nebraska, New Mexico, Nevada, Ohio, Oklahoma,

South Carolina, South Dakota, Tennessee, Texas, Utah, Virginia, Wisconsin, and West Virginia.

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THE ACQUISITION’S PRESUMPTIVE ILLEGALITY

36.  Post-Acquisition, the combined entity would have a dominant share of sales to
customers in both the Pacific Northwest and the Southern and Central United States, and the
Acquisition would greatly increase concentration in these already concentrated markets.

37. Other than Evonik and PeroxyChem, only one other hydrogen peroxide producer
has significant sales in the Pacific Northwest: Solvay. Following the Acquisition, the merged
entity will be the largest hydrogen peroxide producer in the Pacific Northwest, with more than
half of the production capacity and sales in the region.

38. In the Southern and Central United States, Evonik and PeroxyChem compete with
Solvay, Arkema, and Nouryon. By nameplate production capacity, Evonik and PeroxyChem are
the two largest hydrogen peroxide producers, and are two of the top three suppliers of hydrogen
peroxide by sales. Following the Acquisition, the merged entity will be the largest hydrogen
peroxide producer in the area, with nearly half of the production capacity and sales in the region.

39. The Merger Guidelines and courts often measure concentration using HHIs.

HHIs are calculated by totaling the squares of the market shares of every firm in the relevant
market pre- and post-Acquisition. Under the Merger Guidelines, an acquisition is presumed
likely to create or enhance market power — and is presumptively illegal — when the post-
acquisition HHI exceeds 2,500 and the acquisition increases the HHI by more than 200 points.

40. The market for hydrogen peroxide in each relevant regional market is already
concentrated. Post-Acquisition, each regional market would be substantially more concentrated
than it is today.

41. In the Pacific Northwest, post-Acquisition Evonik would control more than half

of the production capacity and sales in the relevant market. Post-Acquisition, the HHI in the

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relevant market far exceeds the 2,500 points that demonstrate that a market is highly
concentrated. Moreover, the Acquisition would increase HHIs in an already highly concentrated
market by significantly more points than required for a presumption that the Acquisition is likely
to enhance market power.

42. In the Southern and Central United States, post-Acquisition Evonik would control
nearly half of the production capacity and sales in the market. Post-Acquisition, the HHI in the
relevant market would exceed the 2,500 points that demonstrate that a market is highly
concentrated. Moreover, the Acquisition would increase HHIs in an already concentrated market
by significantly more points than required for a presumption that the Acquisition is likely to
enhance market power.

43. Thus, in both relevant markets, the Acquisition would result in concentration well
above the amount necessary to establish a presumption of competitive harm.

44, Therefore, the Acquisition is presumptively unlawful.

ANTICOMPETITIVE EFFECTS
A. The Acquisition Would Increase the Likelihood of Anticompetitive Coordination

45. | The markets for the production and sale of hydrogen peroxide to customers
already demonstrate numerous characteristics that make them vulnerable to coordinated conduct.
These characteristics include a commodity product; a highly concentrated market structure with a
limited number of competitors; significant transparency regarding the competitive and strategic
decisions of rival firms; customers with long-term, stable supplier relationships allowing for easy
detection of deviations from past practices; low elasticity of demand; and a history of strong
interdependent behavior.

46. Given these characteristics, it is not surprising that the industry has a history of

price fixing, including guilty pleas, private litigation, and substantial fines and settlements.

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Evonik’s predecessor, Degussa, entered into an antitrust leniency agreement with the U.S.
Department of Justice for its cooperation with a criminal antitrust investigation into illegal price
fixing involving hydrogen peroxide. As part of the same criminal price-fixing case, Solvay and
AkzoNobel (now Nouryon) entered plea agreements which summarized the facts underlying the
anticompetitive behavior among the hydrogen peroxide producers:
[Solvay] .. . participated in a conspiracy among major hydrogen peroxide producers, the
primary purpose of which was to suppress and eliminate competition by fixing the price
of hydrogen peroxide sold in the United States and elsewhere. In furtherance of the
conspiracy, the defendant, through certain of its former officers, directors, and
employees, engaged in discussions and attended meetings with representatives of other
major hydrogen peroxide producers. During these discussions and meetings, agreements

were reached to fix the price of hydrogen peroxide sold in the United States and
elsewhere.

47. The major North American hydrogen peroxide producers have considerable
visibility into their competitors’ business. Competitors track a wealth of information about each
other—including plant-by-plant production capacities, production and inventory levels, costs,
and customer locations served—by monitoring public statements and gathering competitive
information from customers, distributors, and others throughout the industry.

48. North American hydrogen peroxide producers also have significant awareness of
their competitors’ pricing. The major costs to produce hydrogen peroxide are natural gas and
electricity, which allows hydrogen peroxide producers to estimate production costs at competitor
plants. Further, when responding to competitive bids, hydrogen peroxide producers factor in
transportation costs from their competitors’ hydrogen peroxide production plants. Hydrogen
peroxide producers also learn about competitor pricing during the competitive bid process for
customers, whether formal or informal.

49. Having competed against each other in an oligopolistic market environment for

many years, the major North American hydrogen peroxide producers recognize their mutual

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interdependence and aligned incentives. For years, hydrogen peroxide producers have engaged in
parallel pricing behavior and other types of parallel accommodating conduct, including
refraining from competing aggressively to win new business for fear of provoking a competitive
response from a rival. By eliminating a key competitor, the Acquisition may exacerbate the
anticompetitive effects of this interdependence.

50. Allowing Evonik to acquire PeroxyChem will increase the likelihood of
anticompetitive coordination by eliminating a large, independent competitor. In the Pacific
Northwest, the Acquisition creates a duopoly, leaving Evonik and Solvay as the only hydrogen
peroxide producers remaining in the region. In the Southern and Central United States, the
Acquisition establishes a firm controlling nearly half of the production capacity and sales in the
region. Previous industry conduct demonstrates that hydrogen peroxide producers were
successfully able to fix prices with six firms competing in North America. The Acquisition
would reduce the number of remaining firms to two in the Pacific Northwest and four in the
Southern and Central United States, making coordination among the remaining firms both easier
and more likely to increase.

B. The Acquisition Would Eliminate Vital Head-to-Head Competition Between Evonik
and PeroxyChem

51. The Acquisition would eliminate significant direct, head-to-head competition
between Defendants. Customers benefit substantially from the competition between Evonik and
PeroxyChem in the form of lower prices. The Acquisition would substantially reduce that
competition.

52.  Evonik and PeroxyChem compete for customers in both the Pacific Northwest
and the Southern and Central United States, to the direct benefit of customers. Evonik and

PeroxyChem track rival firms’ price movements and respond to competition by offering better

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prices. This competition enables customers to pit hydrogen peroxide producers against each
other in negotiations to obtain lower prices and increased discounts. Customers benefit from
having more hydrogen peroxide producers in the region from which to obtain competitive
pricing.

53.  Post-Acquisition, Evonik would face less meaningful competition in both regional
markets than it does today. Evonik would not need to compete as aggressively on price to win or
retain the business of many customers. Other hydrogen peroxide producers will be unable to
make up for the competition lost as a result of the Acquisition.

34. The only remaining hydrogen peroxide producer with a significant presence in the
Pacific Northwest is Solvay. Customers in the Pacific Northwest are often unwilling to use
hydrogen peroxide producers with plants outside the Pacific Northwest—Arkema and
Nouryon—due to their distance from customer locations, which results in higher delivered prices
and an increased risk of supply issues. Further, Arkema and Nouryon generally do not bid on
customers’ business in the Pacific Northwest.

55. The only remaining hydrogen peroxide producers in the Southern and Central
United States are Solvay, Arkema, and Nouryon. However, post-Acquisition, Evonik would
control nearly half of the production capacity and sales in the region. Solvay, Arkema, and
Nouryon do not have sufficient capacity to mitigate the anticompetitive effects of the Acquisition
in the Souther and Central United States. Further, for certain customers, some of these suppliers
are not viable options due to smaller production capacities.

LACK OF COUNTERVAILING FACTORS
56. Defendants cannot demonstrate that new entry or expansion by existing firms

would be timely, likely, or sufficient to offset the anticompetitive effects of the Acquisition.

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57. | The hydrogen peroxide market is characterized by substantial barriers to entry.
Building a new hydrogen peroxide plant would take multiple years and a large capital
investment. Thus, sufficiently timely entry is unlikely to occur in response to the Acquisition’s
anticompetitive effects in the Pacific Northwest or the Southern and Central United States to
prevent significant anticompetitive harm.

58. Expansion or repositioning by the remaining firms that would defeat
anticompetitive effects in the hydrogen peroxide markets in the Pacific Northwest or the
Southern and Central United States is also unlikely. While Solvay expanded production of
hydrogen peroxide at its Longview, Washington plant in 2016, there has been no other
substantial increase in hydrogen peroxide capacity in the last decade. Further, any expansion
would require a large capital investment. Thus, expansion would not be timely, likely, or
sufficient in the Pacific Northwest or the Southern and Central United States to counteract the
anticompetitive effects of the Acquisition.

59. Other industrial chemical producers are unlikely to reposition. The same barriers
to entry and expansion by existing hydrogen peroxide producers hold true for industrial chemical
manufacturers.

60. There are no significant imports of hydrogen peroxide into North America, and
North American hydrogen peroxide producers do not view imports as a competitive threat.
Further, customers do not view imports as a viable option for hydrogen peroxide due to supply
chain challenges and transportation costs.

61. Defendants cannot demonstrate cognizable, merger-specific efficiencies that
would be sufficient to rebut the strong presumption and evidence of the Acquisition’s likely

significant anticompetitive effects in the relevant markets.

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LIKELIHOOD OF SUCCESS ON THE MERITS,
BALANCE OF EQUITIES, AND NEED FOR RELIEF

62. Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), authorizes the Commission,
whenever it has reason to believe that a proposed acquisition is unlawful, to seek preliminary
injunctive relief to prevent consummation of the acquisition until the Commission has had an
opportunity to adjudicate the acquisition’s legality in an administrative proceeding. In deciding
whether to grant relief, the Court must balance the likelihood of the Commission’s ultimate
success on the merits against the public equities. The principal public equity weighing in favor of
issuance of preliminary injunctive relief is the public interest in effective enforcement of the
antitrust laws. Private equities affecting only Defendants’ interest cannot defeat a preliminary
injunction.

63. | The Commission is likely to succeed in proving that the effect of the Acquisition
may be substantially to lessen competition or tend to create a monopoly in violation of Section 7
of the Clayton Act, 15 U.S.C. § 18, or Section 5 of the FTC Act, 15 U.S.C. § 45. In particular,
the Commission is likely to succeed in demonstrating, among other things, that:

a. The Acquisition is likely to have anticompetitive effects in the relevant
regional geographic markets for the production and sale of hydrogen peroxide;

b. Substantial and effective entry or expansion in these markets is difficult and
would not be timely, likely, or sufficient to offset the anticompetitive effects
of the Acquisition; and

c. The efficiencies asserted by Defendants are insufficient as a matter of law to
justify the Acquisition.

64. Preliminary relief is warranted and necessary. Should the Commission rule, after

the full administrative proceeding, that the Acquisition is unlawful, reestablishing the status quo

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of vigorous competition between Evonik and PeroxyChem would be difficult, if not impossible,
if the Acquisition has already occurred in the absence of preliminary relief. Moreover, in the
absence of relief from this Court, irreversible harm to competition would likely occur in the
interim, even if suitable divestiture remedies were obtained later.
65. Accordingly, the equitable relief requested here is in the public interest. The
Commission respectfully requests that the Court:
1. Enter the parties’ stipulated temporary restraining order and preliminarily
enjoin Defendants from taking any further steps to consummate the
Acquisition, or any other acquisition of stock, assets, or other interests of one
another, either directly or indirectly;
2. Retain jurisdiction and maintain the status quo until the administrative
proceeding that the Commission has initiated is concluded; and
3. Award such other and further relief as the Court may determine is appropriate,

just, and proper.

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Dated: August 2, 2019
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Respectfully Submitted,

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CERTIFICATE OF SERVICE

| HEREBY CERTIFY that on the 2nd day of August, 2019, I served the foregoing on the

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